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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


ADRIAN CALISTE ET AL                                                      CIVIL ACTION

VERSUS                                                                    NO. 17-6197

HARRY E. CANTRELL                                                         SECTION "L" (5)



                                            ORDER

       Considering the Court’s order granting in part and denying in part Plaintiffs’ Motion to

Enforce Judgment, R. Doc. 172,

       IT IS ORDERED that the parties participate in a telephone status conference on

Wednesday, April 1, 2020 at 1:30 p.m. The Court will initiate the call.

       New Orleans, Louisiana this 11th day of March, 2020.


                                                                  ________________________
                                                                        Eldon E. Fallon
                                                                   United States District Judge
